                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


  PULLMAN ARMS INC.; GUNS and GEAR, LLC;
  PAPER CITY FIREARMS, LLC; GRRR! GEAR,
  INC.; and NATIONAL SHOOTING SPORTS
  FOUNDATION, INC.,

                                  Plaintiffs,                CIVIL ACTION NO.
                                                             4:16-cv-40136-TJH
                             v.

  MAURA HEALEY, ATTORNEY GENERAL FOR
  THE COMMONWEALTH OF
  MASSACHUSETTS,

                                  Defendant.




                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the plaintiffs Pullman Arms Inc., Guns and Gear,

LLC, Paper City Firearms, LLC, Grrr! Gear, Inc., and the National Shooting Sports Foundation, Inc., and

the defendant Maura Healey, as Attorney General for the Commonwealth of Massachusetts, being

all parties to this action, hereby stipulate to the dismissal of this action with prejudice and with

each party to bear its own costs and attorneys’ fees.
                                         Respectfully submitted,

PLAINTIFFS,                               DEFENDANTS,

By their counsel,                         By their counsel

                                          MAURA HEALEY
                                          ATTORNEY GENERAL


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Date: December 11, 2019
